                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:11-cv-393-FDW
                                   (3:09-cr-39-9)

MARCO WIGFALL,                                )
                                              )
               Petitioner,                    )
                                              )
               v.                             )
                                              )                ORDER
UNITED STATES OF AMERICA,                     )
                                              )
               Respondent.                    )
                                              )

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside or

Correct Sentence filed under 28 U.S.C. § 2255. (Doc. No. 1). For the reasons the follow,

Petitioner’s Motion to Vacate his sentence will be granted.



I.     BACKGROUND

       On February 19, 2009, Petitioner was charged with nine counts in an indictment returned

by the grand jury sitting for the Western District of North Carolina. (3:09-cr-39; Doc. 3). On

April 22, 2009, the grand jury returned a fifty-one page, superseding bill of indictment charging

Petitioner in counts one, twenty-four and twenty-five. Count One of the superseding indictment

charged Petitioner and others with conspiring to unlawfully possess with intent to distribute 50

grams or more of crack cocaine, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(b). (Doc. No.

114). In Count Twenty-Four, Petitioner was charged with knowingly using a telephone to

facilitate the commission of a felony drug offense, in violation of 21 U.S.C. § 843(b). (Id. at 28).

Count Twenty-Five charged Petitioner with knowingly possessing with intent to distribute


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cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). (Id. at 29).

       Petitioner entered into a Plea Agreement with Respondent wherein he agreed to plead

guilty to Count One of the superseding indictment in return for the agreement of the United

States to dismiss counts Twenty-Four and Twenty-Five. (Doc. 211: Plea Agreement). The Plea

Agreement provided that Petitioner would stipulate that the amount of crack cocaine at issue was

in excess of 5 grams but less than 30 grams. (Id. at 2 ¶ 8(a)). On September 2, 2009, Petitioner

appeared before United States Magistrate Judge David S. Cayer for his Rule 11 hearing, and

following the standard colloquy, Petitioner’s plea of guilty to count one was accepted. (Doc.

214: Acceptance and Entry of Guilty Plea). The United States Probation Office prepared a

presentence investigation report (“PSR”) and Petitioner appeared for sentencing before the

undersigned on August 25, 2010, and was sentenced to a sixty (60) month term of imprisonment.

The Judgment was entered on August 30, 2010. (Doc. No. 449: Judgment in a Criminal Case, at

2). Petitioner did not file an appeal from his conviction or sentence.

       On August 12, 2011, Petitioner filed a timely petition under 28 U.S.C. § 2255. (3:11-cv-

393, Doc. No. 1). Petitioner contends that The Fair Sentencing Act of 2010, which was signed

into law by President Obama on August 3, 2010, should apply to him and result in the Court re-

sentencing him to a lesser term of imprisonment. See Fair Sentencing Act of 2010 (“FSA”), Pub.

L. No. 111-220, 124 Stat. 2372 (2010). Petitioner states that he entered a plea of guilty to

possession with intent to distribute five to 20 grams of crack cocaine. (Doc. No. 1-1 at 2). The

Court examined Petitioner’s motion and ordered the United States to file a response. (Doc. No.

2).

       In its Response, the government contends that Petitioner is entitled to have his sentence

vacated and to be re-sentenced under the provisions of the FSA. First, the government explains

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that the FSA applies to Petitioner because although his crime as set out in Count One of the

superseding bill of indictment was committed well before the effective date of the FSA, August

3, 2010, Petitioner was not sentenced until after the effective date of the FSA. The government

contends that the FSA increased “the crack threshold for the five-year mandatory minimum from

five grams to 28 grams.” (Doc. No. 4 at 2). Second, the government states that under the terms

of the Plea Agreement, Petitioner stipulated to possessing between five and twenty grams of

crack, and therefore the amount Petitioner stipulated to possessing would not trigger the

mandatory 5-year term to which he was sentenced. (Id.).



II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. If a petitioner’s motion is not dismissed after this initial review, the Court must direct the

government to respond. Id. The Court must then review the government’s answer or response

and any materials submitted by the parties to determine whether an evidentiary hearing is

warranted under Rule 8(a). Petitioner has requested an evidentiary hearing. (3:11-cv-393, Doc.

No. 1-1 at 5). After having considered the record in this matter, the Court finds that this matter

can be resolved without an evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529

(4th Cir. 1970).

III.    DISCUSSION

        Count One of the superseding indictment charged Petitioner with knowingly possessing

with intent to distribute crack cocaine in an amount in excess of 50 grams. (3:09-cr-39, Doc. No.

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3: Superseding Bill of Indictment, at 3). In the Plea Agreement, Petitioner and the government

agreed that the “amount of crack cocaine which was known or reasonably foreseeable by

[Petitioner] was in excess of 5 grams but less than 30 grams.” (Doc. No. 211 at 2 ¶ 8(a)

(emphasis in original)). In Petitioner’s Rule 11 hearing, the Assistant United States Attorney

read aloud this term of the Plea Agreement and Petitioner agreed that he would be responsible

for an amount of crack cocaine of greater than 5 grams but less than 30 grams. The PSR

summarized the Plea Agreement, and concluded that the amount of greater than 5 grams and less

than 30 encompassed two Guideline ranges. The PSR recommended that because of “the short

duration of involvement in the conspiracy and the documented transactions, the applicable drug

amount appears to be in the lower of the two stipulated ranges.” (3:09-cr-39, Doc. No. 383: PSR

at 12 ¶ 68). In calculating the Petitioner’s Base Offense Level, the PSR found the following:

        Base Offense Level: The United States Sentencing Commission Guideline for violation
        of 21 U.S.C. § 841 is found in USSG § 2D1.1 and calls for a base offense level of 24
        based on the quantity of drugs for which the defendant is responsible. The defendant is
        responsible for at least 5 grams but less than 20 grams of crack cocaine.

Id. at 12 ¶ 74.

        During the sentencing hearing, Petitioner raised no objections to the PSR. The Court

examined the PSR and adopted the information contained therein for purposes of applying the

advisory Guidelines. Following the sentencing hearing, the Court entered a written finding

memorializing this action. (Doc. No. 450: Statement of Reasons at 1: “The court adopts the

presentence investigation report without change.”). Following presentation by the government

and Petitioner, the Court sentenced Petitioner to 60-months imprisonment.

        On June 21, 2012, the United States Supreme Court addressed the issue of retroactive

effect of the FSA on cases still on direct appeal at the time of enactment. There was a split in the


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Circuits as to whether the FSA would apply to defendants who committed crimes involving

crack before the effective date of the FSA but not sentenced until after the effective date. Some

The Supreme Court resolved the split in Dorsey v. United States,        U.S.     , 2012 WL

2344463, at *3 (June 21, 2012) (“We hold that the new, more lenient mandatory minimum

provisions do apply to those pre-Act offenders.”). Petitioner Dorsey was convicted of selling 5.5

grams of crack in August 2008. Dorsey was sentenced in September 2010. If the FSA were

found not to apply to Dorsey, he would have been subject to a mandatory-minimum of five-years

because the amount of crack involved was greater than 5 grams and less than 28 grams. Id. at *7

(citing 28 U.S.C. § 841(b)(1)(iii), (B)(iii) (2006 ed.)). Dorsey argued that the FSA should apply

to the calculation of his sentence even though he committed his crime before the FSA’s effective

date. The trial court, and ultimately the Seventh Circuit, disagreed and found that because

Dorsey had committed his crime before the effective date of the FSA, he would still be subject to

the mandatory minimum term of imprisonment.

       The Supreme Court, in a 5-4 decision, held that the FSA applied to defendants who

committed crimes before the effective date of the FSA, but were sentenced after the effective

date. The Court noted that the FSA increased the amount of crack cocaine which was needed to

trigger a mandatory 5-year term of imprisonment from 5 grams to 28 grams. Consequently,

Dorsey would not be subject to the mandatory minimum of 5 years because his drug amount

involved less than 28 grams. Dorsey, 2012 WL 2344462, at *6.

       In the present case, as summarized above, the Court found, and the government and

Petitioner stipulated, that Petitioner was responsible for between 5 and 20 grams of crack

cocaine. Petitioner was sentenced on August 25, 2010, after the effective date of the FSA.

       Therefore, based on Dorsey, the Court will order that Petitioner’s Section 2255 motion

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to vacate his sentence be granted, and that the United States Probation Office prepare a

presentence investigation report which calculates Petitioner’s guideline sentence with reference

to the FSA’s revised guidelines.

       Petitioner shall remain in the custody of the Federal Bureau of Prisons pending his re-

sentencing hearing. Petitioner is entitled to appointment of counsel to represent him for the

limited purpose of the re-sentencing hearing. The Court will therefore direct the Clerk of Court

to send a copy of this Order to the Federal Defender’s Office for the Western District. A

sentencing hearing will be scheduled promptly upon receipt of the PSR.



IV.    CONCLUSION

       IT IS, THEREFORE, ORDERED that:

       1.      Petitioner’s Section 2255 Motion to Vacate his Sentence, (Doc. No. 1), is

GRANTED and Petitioner’s prior sentence is VACATED.

       2.      The United States Probation Office shall prepare a presentence investigation

report for delivery to the Court and the Federal Defender’s Office for the Western District.

       3.      The Petitioner shall remain in the custody of the Federal Bureau of Prisons

(and/or the United States Marshals Service) pending his re-sentencing hearing.

       4.     The Clerk of Court will writ the Petitioner back to the Western District of North

Carolina for re-sentencing.

       The Clerk of Court is respectfully directed to forward a copy of this Order to the United

States Probation Office and the Federal Defender’s Office.

       The Clerk of Court is further directed to close this civil case (3:11-cv-393).



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                               Signed: June 29, 2012




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